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8. DISTRICT COURT
EASTERN DISTAIGT OF GALIFORNIA

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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF CALIFORNIA

Maida L. Enabnit; et al.,
Plaintiff,
v.

Petsmart, Inc.; et al.,

Defendants.

 

 

Case No.: 2:07-cv-00165-JAM-DAD

feReOPesED] ORDER GRANTING
PLAINTIFF'S MOTION FOR
FINAL APPROVAL OF CLASS
ACTION SETTLEMENT

Hearing Date: April 22, 2009
Hearing Time: 280s. /'S0 747
Courtroom: 6, 14 Floor

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) Judge: Honorable John A. Mendez
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[PROPOSED] Order Granting Plaintiff's Motion for Final Approval

 
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Case 2:07-cv-00165-JAM-DAD Document 41 Filed 04/23/09 Page 2 of 2

4:30 p.m
WHEREAS, this matter came on for hearing on April 22, 2009, at @@enm., in

Courtroom 6 of the above-captioned court on Plaintiff's Motion for Final Approval of
Class Action Settlement; and

WHEREAS, Plaintiff Maida Enabnit has applied to this Court for an order finally
approving the settlement of the Action in accord with a Stipulation of Settlement (the
“Settlement”) which, together with the exhibits annexed thereto, sets forth the terms and
conditions for a proposed settlement; and the Court having read and considered the
Settlement and the exhibits annexed thereto;

NOW, THEREFORE, IT IS HEREBY ORDERED:

l. This Order incorporates by reference the definitions in the Settlement, and
all terms defined therein shall have the same meaning in this Order as set forth in the
Settlement; .

2, Plaintiff's Motion for Final Approval of the Class Action Settlement is
Granted;

3. Class Counsel’s request for attorney's fees in the amount of $570,000.00 is
Granted;

4. Class Counsel’s request for costs in the amount of $2,652.47 is Granted;

5. The enhancement fee to Plaintiff in the amount of $30,000.00 is Granted;

6. The Claims’ Administration fees in the amount of $111,987.38 is Granted.

IT IS SO ORDERED.

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A. MENDEZ
ted States District Jadge

[PROPGSED] Order Granting Plaintiff's Motion for Final Approval

 
